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A 0 245B (Rev 9/00) Sheet 1 -Judgment in a Criminal Case


                                UNITED STA TES DISTRICT COURT
                                                           MIDDLE DISTRICT OF FLORIDA
                                                                TAMPA DIVISION



UNITED STATES OF AbIERICA                                           JUDGhIENT IN A CRIhlINAL CASE
                                                                    CASE NUMBER:       8:05-cr-70-T-23~1A~~
                                                                    USh1 NUMBER:



JAVlEIi OMAR PACI-IECO
                                                                    Defendant's Attorney: Walter Ruiz, pda

THE DEFENDANT:

7
 X plcadcd guilty to count TI-IIRTY-THREE of the Indictment.


TITLE Kc SECTION                         NATURE OF OFFENSE                           OFFENSE ENDED              COUNT

18 U.S.C. g 1001(a)(2)                   False Statements                            October 3, 2003           THIRl3'-THREE


        The defendant is sentenced as provided i11 pages 2 through 4 of this judgment. The sentence is imposed pursuant to the
Sentencing Refom1 Act of 1983.

-
X Count THIRTY is dismissed in accordance with the plea agreement.

IT IS FURTHER ORDERED h a t the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully
paid.

If ordered to pay restitution, d ~ defendant
                                   e         shall notify the court and United States Attorney of any material change in economic
circumstances.


                                                                                     Date of Imposition of Sentence: May 2 , 2006




                                                                                           kww"~"r
                                                                                        STEVEN D. RIEKRYDAY


                                                                                     DATE: May      *.
                                                                                     UNITED STATES DISTRICT JUDGE

                                                                                                             2006
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A 0 245B (Rrv. 9:00) Sheet 4 - Probation
Defendant:            JAVlER OMAK PACHECO                                                             Judgment - Page 2 of 4
Case No.:             8:05-cr-70-T-23MAP

                                                             PROBATION

The defendant is hereby placed on probation for a term of THIRTY-SIX (36) hfONTHS as to counr thirty-three of the Tndicrment

The defendant shall not commit anorher federal, stale, or local crime, and shall no1 possess a firearm, ammunition, or destructive
device as defined in 18U.S.C. 921.

-
X        The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a
controlled substance. Based on the probation officer's determination that additional drug urinalysis is necessary, the Court authorizes
random drug testing not to exceed 104 tests per year.

X
-          Tile defendant shall cooperate in the collection of DNA as directed by the probation officer.

If this judgment imposes a fine or a restitution, it is a condition of probation that the defendant pay in accordance with the Schedule
of Payments sheet of this jud,ament.

The defendant shall comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
1)         the defendant shall not leave the judicial district without the permission of rhc court or probation ofticer;

2)         the defendant shall report to the probation officer as directed by the court or probation officer and shall submit a truthful and
           complete written report within the first five days of each month;

3)         the defendant shall answer truthfully all inquiries by the probation officer and follow the instruction of the probation ofticer;

4)         the defendant shall support his or her dependents and meet other family responsibilities;

5)         the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or
           o~heracceptable reasons:

6)         the defendant shall notify the probation officer at least ten days prior to any change in residence or employment:

7)         the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute. or administer any
           controlled substance. or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8)         the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9)         the defendant shall not associate with any persons engaged in crinlinal activity, and shall nor associate with any person
           convicted of a felony, unless granted pernission to do so by the probation officer:

10)        the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation
           of any contraband observed in plain view by the probation officer:

1 1)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
           officer:

12)        the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcenlent agency without
           the permission of the court;

 13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
           criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and
           to confirm rhe defendant's compliance with such notification requirement.
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A 0 245B (Rrv 12/03) Sheet 5   - Criminal Slonetary Penalties
Defendant:           JAVIER OMAR PACI-IECO                                                              Judgment - Page 3of 4
Case No.:            8:05-cr-70-T-23h4AP

                                                   CRZlMINAL MONETARY PENALTIES

          The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                 Assessment                             -
                                                                        Fine                    Total Restitutiori

          Totals:                $100.00                                $ waived                $


-         The determinatioil of restitution is deferred until -.               An Amended Judgrnetlt it1 a Critnirtal Case ( A 0 245C) will
          be entered afrer such determination.
-         The defendant must make restitution (including community restitution) to the following payees in the amount listed
          below.
          If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment. unless
          specified otherwise in the priority order or percentage pa inent column below. However, pursuant to 18 U.S.C. $
          3664(i). all non-federal victims must be paid before the dnited States.
                                                                                                                Priority Order or
                                                         *Total                   Amount of                     Percentage of
Yame of Pavee                                          Amount of Loss          Restitution Ordered              Pavment




                                 Totals:               $-                      -
                                                                               5

-         Restitution amount ordered pursuant to plea agreement $
-         The defendant shall ay interesr on any fine or restitution of more than $2,500, unless the restitution or fine is paid in full
                                    2
          before the fifteenth ay after the date of the judgment, pursuant to I8 U.S.C. d 3612(f). All of the payment options on Sheet
          6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. 3 3612(g).
-         The court determined that the defendant does not have the ability to pay interest and it is ordered that:
          -          the interest requirement is waived for the - fine             - restitution.

          -          the interest requirement for the - fine            - restitution is modified as follows:

* Findings for the total amount of losses are required under Cha ters 109A, 110, llOA, and 113A of Title 18 for the offenses
committed on or after September 13, 1994, but before April 23, 1896.
         Case 8:05-cr-00070-SDM-MAP Document 114 Filed 05/04/06 Page 4 of 4 PageID 313
A 0 245B (Rev 12/03) Sheer 6 -Schedule of Payments

Defendant:           JAVIER OMAR PACHECO                                                            Judgment - Page 4 of 4
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                                                     SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A.        -
          X Lump sum payment of $ 100.00 due immediately, balance due
                                -not later than               , Or

                                -in accordance - C, - D. - E or - F below; or
B.        -          Payment to begin immediately (may be combined with -C, -D, or -F below): or
C.        -          Payment in equal                 (e.g., weekly, montllly , quarterly) installments of S             over a
                     period of          (e.g., months or years), to conlnlence              days (e.g., 30 or 60 days) after the
                     date of this judgment: or
D.        -          Payment in equal                (e.8, weekly, monthly, quarterly) installments of $             over a
                     period of             , (e.g., mon s or years) to colnrnerlce                (e.g. 30 or 60 days) after
                     release from imprisonment to a tern1 of supervision; or
E.        -          Payment during the term of supervised release will co~nmencewithin                          (e.g., 30 or
                     60 days) after release fro111imprisonment. The court will set the payment plan based on an assessment of
                     the defendant's ability to pay at that time, or
F.        -          Special instructions regarding the payment of criminal monetary penalties:




Unless the tour[ has expressly ordered otherwise, if this jud ment imposes a period of                                     of criminal
                                             b                       f
          penalties is due during irn risonment. All crimina monetary penalties,
nlOnea% ureau of Prisons' Inmate inancial Responsibility Program, are made
Federal
                                                                                                                     made through the

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-         Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amount. Joint and
Several Amount. and corresponding payee, if appropriate:


-         The defendant shall pay the cost of prosecution.
-         The defendant shall pay the following court cost(s):
-         The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fme principal,
( 5 ) community restitution, (6) fine interest (7) penalties, and (8) costs, including cost of prosecution and court costs.
